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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION


 UNITED STATES OF AMERICA,                    *

                       Plaintiff,             *
 v.                                                         Cr. No.:18-10015 -STA
                                              *
 JAMES FENNER JR,
                                              *
                       Defendant.
                                              *


                              ORDER AND NOTICE OF SETTING


        IT APPEARING TO THIS COURT THAT upon the filed motion of the Defendant, there

 being no objection filed by the Assistant United States Attorney, and for good cause shown, that

 this motion is well taken and is therefore, GRANTED.

        The change of plea hearing in this matter shall be set for: Friday, September 14, 2018 at

 1:30p.m.



        IT IS SO ORDERED, this the 10th day of September, 2018


                                                     s/S. Thomas Anderson
                                                     HONORABLE S. THOMAS ANDERSON
                                                     CHIEF UNITED STATES DISTRICT JUDGE
